                                                    Case 3:18-bk-03282-JAF            Doc 79       Filed 01/31/20           Page 1 of 2

                                                                                   FORM 1                                                                                             Page: 1
                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                ASSET CASES
Case Number:       18-03282 CJJ                                                                           Trustee:                        Doreen Abbott
Case Name:         JAC Holdings Group, LLC                                                                Filed (f) or Converted (c):     08/07/18 (f)
                                                                                                           D 0HHWLQJ'DWH           10/25/18
Period Ending: 12/31/19                                                                                   Claims Bar Date:                10/16/18

                                       1                                     2                           3                          4                     5                       6
                                                                                                Estimated Net Value                                                          Asset Fully
                                                                          Petition/        (Value Determined By Trustee,         Property           Sale/Funds            Administered (FA)/
                               Asset Description                        Unscheduled           Less Liens, Exemptions,          Abandoned            Received by            Gross Value of
 Ref #              (Scheduled And Unscheduled (u) Property)               Values                 and Other Costs)          2$  D $EDQGRQ       the Estate           Remaining Assets

  1      REAL PROPERTY                                                      1,100,000.00                      800,000.00                                           0.00            800,000.00
         5-93 18-3S-26E 13.688 JACKSONVILLE HEIGHTS PT
         TRACTS 13,14,15 RECD O/R 17538-1464 BLK 3
         6300 Blanding Blvd Jacksonville, FL 32244
  2      CLAIM (u)                                                           250,000.00                              0.00                                          0.00          FA
         COUNTER CLAIM FOR SETOFF VS. WESTLAKE FLOORING
         CO., LLC
TOTALS (Excluding Unknown Values)                                         $1,350,000.00                     $800,000.00                                           $0.00          $800,000.00
Major activities affecting case closing:
TRANSFERRED CASE FROM FT. MYERS
REAL PROPERTY ON BLANDING BOULEVARD (OLD DRIVE IN THEATRE); POSSIBLE SHORT SALE / CARVEOUT WITH LIENHOLDERS
ORDER EMPLOYING JACOB BROWN AS ATTORNEY SIGNED 10/3/18
ORDER EMPLOYING NAJI HASSAN AS REALTOR SIGNED 10/9/18
STAY MOTIONS FILED BY ALL 3 LIENHOLDERS
ORDER SCHEDULING TRIAL SET FOR 4/22/19 @ 10:00 AM FOR STAY MOTIONS
ORDER APPROVING APPLICATION TO EMPLOY STEVEN M. VANDERWILT AS CPA FOR ESTATE
10/14/19 MOTION TO SELL REAL PROPERTY; HEARING SET FOR 11/6/19
11/7/19 ORDER GRANTING MOTION TO SELL REAL PROPERTY
12/19/19 NOTICE OF ALTERNATE BUYER FILED WITH COURT
1/20 - REALTOR STILL WORKING WITH LIEN HOLDERS AND ALTERNATE BUYER TO MAKE SALE WORK; DUE DILIGENCE PERIOD EXTENDED TO FEBRUARY

Initial Projected Date of Final Report (TFR): August 01, 2020                                 Current Projected Date of Final Report (TFR): August 01, 2020
                            Case 3:18-bk-03282-JAF   Doc 79   Filed 01/31/20   Page 2 of 2

                                                 Form 2                                      Page: 1

                                 Cash Receipts and Disbursements Record
No Accounts for this Case
